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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

HAROLD HINGOS,
NOTICE OF
Plaintiff, APPEARANCE
-against-
INTERNATIONAL ALLIANCE OF THEATRICAL Civil Action No.

STAGE EMPLOYEES, MOVING PICTURES
TECHNICIANS, ARTISTS, AND ALLIED CRAFTS

OF THE UNITED STATES, ITS TERRITORIES, AND
CANADA, AFL-CIO, CLC (“IATSE”), IATSE LOCAL #54,
and WILLIAM CARROLL, in his Official Capacity as
Business Agent for Local 54,

04-CV-1 178 (T]M/DEP)

Defendants.

 

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

THIS NOTICE, is to inform you that as of December l6, 2004, defendant lATSE’s counsel in
this matter and the attorney of record on whom all notices and papers may be served is:

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Dated: December 16, 2004

To:

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Hon. David E. Peebles

U.S. Magistrate Judge

Federal Building, U.S. Courthouse
P.O. Box 7345

Syracuse, New York 13261-7345

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